Case 1:20-cv-11352-RGS Document1-1 Filed 07/17/20 Pageft p1

Eeounn Ove and Ground Two
\. on Bred July 2026 Leh hirer Fed Motion D Dischage (oun sel anf Appoint Nevilasael
ze (ounse| was prevnsly in valved with RAhenes's Cousin in ascval and Vielen
relacionship-
3- Such animasity and cll will by appointec| Gmsd is aclear
cen Plier of interest
4. Pehtiow BleA the motion the ‘yuelge allowed (9 joort

the Atochegc of Camsel ancl denicol appa ninent

glnew counsel .
5. The judge expects Pebkener to now peprescnt h

‘al same Aa,

ersdf
ana ge nD)
6. Rehhoner did not even have the case file |

7. On loudly 2026 RAhmMer fleol ncler c.231 $118
Q cque st for la rrlocutory Appeol with

Massachusetts Appellate Court

8: Fehtioe’ was denicol at 4.00pm 0 1b" July 2620.
9. Ferhioner 1 Wve pahal casefile at 4'00 pm

bt Sdy 2020.
10 KAhmer 7s expecta 10 5 fo tnhial Po Se the nextelesy

11. The burden te provide counsel was on the steite.

12. Fetthoner cannot proceed Podse ina Careand prekcehen
tralia volving the li betty of twe twin bealores (7 one Lous
prepara i :

13. This is an unfurr achom by state government.

14. Babies cannot be taken fram Mothes ia such an unfair
Stee recess |
